                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION
                           NO. 5:19-CR-00432-FL

UNITED STATES OF AMERICA                 :
                                         :
             v.                          :       PRELIMINARY ORDER
                                         :       OF FORFEITURE
CHARLES GILBERT MURPHY                   :


      WHEREAS, the above-named defendant has pleaded guilty pursuant to a

written plea agreement to a Criminal Indictment, charging the defendant with

offenses in violation of 18 U.S.C. §§ 1343 and 2, and 18 U.S.C. § 1028A(a)(1);

      AND WHEREAS, the government has filed a motion for entry of a Preliminary

Order of Forfeiture, showing that the defendant personally obtained at           least

$909,763.54 in proceeds from the offense(s), and that he made the proceeds

unavailable as a result of his acts or omissions and one or more of the conditions to

forfeit substitute assets exists, as set forth in 21 U.S.C. § 853(p);

      NOW, THEREFORE, based upon the defendant’s guilty plea, the stipulations

contained in the Plea Agreement, the points and authorities in the government’s

motion, and all of the evidence of record in this case, the Court FINDS as fact and

CONCLUDES as a matter of law that there is a nexus between each item of property

listed below and the offense(s) to which the defendant has pleaded guilty, and that

the defendant (or any combination of defendants in this case) has or had an interest

in the property to be forfeited,




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      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

      1.      The following property is forfeited to the United States pursuant to Fed.

R. Crim. P. 32.2(b)(2) and 18 U.S.C. § 981(a)(1)(C):

              Forfeiture Money Judgment:

              a) A sum of money in the amount of $909,763.54, representing the gross

                 proceeds personally obtained by the defendant as a result of said

                 offense(s) for which he has been convicted; and an amount for which

                 the defendant shall be solely liable and in satisfaction of which the

                 United States may forfeit substitute assets pursuant to 21 U.S.C.

                 § 853(p)

      2.      Pursuant to Fed. R. Crim. P. 32.2(b)(3) and 32.2(c)(1)(B), the United

States is authorized to conduct any discovery pursuant to the applicable Federal

Rules of Civil Procedure needed to identify, locate, or dispose of the above-referenced

property, or other substitute assets, including depositions, interrogatories, requests

for production of documents and for admission, and the issuance of subpoenas.

      3.      To the extent this Order constitutes a personal forfeiture money

judgment against the defendant, the United States is not required to send or publish

notice of the same, as there is no specific property to be forfeited. However, this Order

may be recorded in the records of the Clerk of Court in any county in which the

defendant resides or has either real or personal property as a lien thereon. Pursuant

to Rule 32.2(e) of the Federal Rules of Criminal Procedure, the United States may

move to amend this Order at any time to forfeit other property in which the defendant


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has an interest, whether directly forfeitable or substitute assets, to satisfy this

forfeiture money judgment in whole or in part; provided that the net proceeds of any

forfeited assets shall be credited toward satisfaction of the judgment upon

liquidation.

      4.       Upon sentencing and issuance of the Judgment and Commitment Order,

the Clerk of Court is DIRECTED to incorporate a reference to this Order of Forfeiture

in the applicable section of the Judgment, as required by Fed. R. Crim. P.

32.2(b)(4)(B). In accordance with Fed. R. Crim. P. 32.2(b)(4)(A), this Order shall

become final as to the defendant at sentencing.

      5.       The Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

      SO ORDERED, this the 15th day of March, 2021.




                                  ___________________________________
                                  LOUISE WOOD FLANAGAN
                                  UNITED STATES DISTRICT JUDGE




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